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                Exhibit A
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                    Trump Alioto Trump & Prescott
                                    ATTORNEYS LLP
                                     2280 Union Street
                               San Francisco, California 94123
                                       (415) 563-7200
                                    FAX (415) 346-0679

                                     October 15, 2012

VIA ELECTRONIC MAIL

Wilson Mudge
ARNOLD & PORTER LLP
555 Twelfth Street, NW
Washington, DC 20004-1206

       Re:      In re Cathode Ray Tube (CRT) Antitrust Litig., Case No. 07-5944 SC

Dear Will:

        Pursuant to the discovery order dated 04/03/2012 in the above-referenced matter,
Indirect Purchaser Plaintiffs, Individual Action Plaintiffs (“Plaintiffs”), and State
Attorneys General have continued to work together to discuss LG Electronics, Inc.
(“LGEI”) and LG Electronics USA, Inc. (“LGUSA”) (collectively the “LGE defendants”
or “LGE”) employees regarded as potential merits deponents.

        Currently, Plaintiffs’ expectations are to notice depositions to take place in San
Francisco, CA beginning in November/December of this year. Please inform us of any
conflicts or other issues that may preclude these individuals from attending depositions
during those calendar months. We anticipate the following six individuals to be the first
LGE employees noticed for deposition:

       1.    John Koo
       2.    Seung Pyung Koo
       3.    Ki Song Cho
       4.    Chang Soo Jeon
       5.    Pil Jae Lee
       6.    Kyu In Choi

      As we move forward, Plaintiffs anticipate the individuals most likely to be
deposed will come from the following list of names:

        Michael Ahn                            Sung Mo Ahn
        Sang Yong Choi                         Byung Koo Jeon
        Yu Sik Kang                            Sang Yong Sam Kim
        Woong Tae Kim                          K.Y. Ko
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         Havis (H.W.) Kwon                      Jeong Shik Lee
         Morris Lee                             Seung Kyu Lee
         Yeon Mo Lee                            Young Bae Nah
         Woo Hyun Paik                          Chang Kwon Park
         Kyung Joon Park                        Jong Min Park
         Seok Won Park                          Robert Perry
         Duk Chul Ryu                           Ron Snaidauf
         Jung Il Son                            You Jong Song
         Nam Kyun Woo                           Young Uk Yang

       Please inform us if any of the above listed individuals are no longer employees of
LGE so that we may arrange for the appropriate means of service. In addition, please
inform us if any of the above individuals intend to invoke their rights under the Fifth
Amendment.

       Plaintiffs reserve the right to supplement this list depending on LGE’s response
and on information obtained during the discovery process. If you feel that any of the
persons included in the list does not have relevant knowledge or only marginal
knowledge of the relevant facts, please let us know. Thank you for your attention to this
matter and we look forward to speaking with you in the near future.



                                             Sincerely,

                                             /s/ Mario N. Alioto
                                             Trump Alioto Trump & Prescott, LLP
                                             Interim Lead Counsel for the Indirect
                                             Purchaser Plaintiffs



cc:     Nathan Cihlar
        Brian S. Umpierre
        Emilio Varanini
        Michael Jorgenson
        Nicole Gordon
        Paul Moore
        Liz Brady
        Satu Correa
        Nicholas Weilheimer
        Phil Iovieno




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